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                              UNITED STATES DISTRICT COURT

                              WESTERN DISTRICT OF LOUISIANA

                              LAFAYETTE-OPELOUSAS DIVISION

 UNITED STATES OF AMERICA                              CRIMINAL NO. 03-CR-60024-03
                                                       CIVIL NO. 08-CV-0755

 VERSUS                                                JUDGE MELANÇON

 JOHN PAUL ANTHONY                                     MAGISTRATE JUDGE METHVIN

          RULING AND NOTICE THAT PETITIONER’S MOTION TO VACATE
            JUDGMENT PURSUANT TO RULE 60 WILL BE CONSTRUED
                  AS A MOTION PURSUANT TO 28 U.S.C. § 2255
                               (Rec. Doc. 258)

                                              Background

        Following a jury trial, petitioner was convicted of conspiracy to possess with intent to

 distribute over five (5) kilograms of cocaine and marijuana in violation of 21 U.S.C. §§ 846 and

 841(b)(1)(A). The judgment was entered on April 27, 2005 (Rec. Doc. 196). Petitioner was

 sentenced to a term of 137 months in prison and 5 years of supervised release. The conviction

 and sentence were affirmed on October 16, 2006 (Rec. Docs. 197, 233).

        Before the court is petitioner’s pro se motion to vacate judgment filed on May 27, 2008,

 pursuant to Rule 60(b)(4) and (b)(5) (Rec. Doc. 258). Petitioner argues that his conviction and

 sentence are void under U.S. v. Booker, 543 U.S. 220, 224, 125 S.Ct. 738, 744 (2005), and the

 Fifth and Sixth Amendments.

        Rule 60 provides in pertinent part:

        (b) Grounds for Relief from a Final Judgment, Order, or Proceeding. On motion
        and just terms, the court may relieve a party or its legal representative from a final
        judgment, order, or proceeding for the following reasons:

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        (4) the judgment is void;

        (5) the judgment has been satisfied, released or discharged; it is based on an
        earlier judgment that has been reversed or vacated; or applying it prospectively is
        no longer equitable . . . .

 Fed. R. Civ. P. 60(b)(4), (b)(5).

        Rule 60 is inapplicable to criminal cases, and petitioner’s motion is properly construed as

 a motion pursuant to 28 U.S.C. § 2255. “Rule 60(b) provides relief from judgment in civil cases,

 not in criminal cases.” U.S. v. Williams,, No. 07-30640, 2008 WL 1745192, 1 (5th Cir. April 15,

 2008) citing United States v. O'Keefe, 169 F.3d 281, 289 (5th Cir.1999).

        In Castro v. U.S., 540 U.S. 375, 382, 124 S.Ct. 786, 792 (2003), the Supreme Court held

 that when a district court recharacterizes a pro se pleading as an initial § 2255 motion, the court

 must do the following:

        (1) notify the pro se litigant that it intends to recharacterize the pleading, (2) warn
        the litigant that this recharacterization means that any subsequent § 2255 motion
        will be subject to the restrictions on “second or successive” motions, and (3)
        provide the litigant an opportunity to withdraw the motion or to amend it so that it
        contains all the § 2255 claims he believes he has.

 540 U.S. at 383, 124 S.Ct. at 792. The consequence of a district court's failure to fulfill these

 three requirements is that “the [original] motion cannot be considered to have become a § 2255

 motion for purposes of applying to later motions the law's ‘second or successive’ restrictions.” Id.

 See also McDaniel v. U.S., No. 05-10120, 242 Fed. Appx. 217, 218 (5th Cir. Sept. 11, 2007).

        Considering the foregoing, petitioner is HEREBY NOTIFIED that his motion will be

 construed under 28 U.S.C. § 2255. Petitioner may amend the petition to include any additional

 habeas corpus claims not already raised and which would be barred in a subsequent successive

 habeas corpus petition, or he may withdraw this motion. Accordingly,
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        IT IS HEREBY ORDERED that petitioner may either amend his petition within thirty

 (30) days of the date of this order to include any additional habeas corpus claims not already

 raised, if any there be, or alternatively may withdraw this motion within thirty (30) days of the

 date of this order.

        Signed at Lafayette, Louisiana, on June 23, 2008.
